            Case 2:24-cr-00423-NJC               Document 2            Filed 10/17/24        Page 1 of 2 PageID #: 23

AO 442 (Rev. 11/11} Arrest Warrant



                                        UNITED STATES DISTRICT COURT*                                                  OCT ~ 7 2024
                                                                 for the
                                                                                                       LONG ISLAND OFFICE


                  United States of America                                        TO BE FILED UNDER SEAL
                             V.                                    )
                                                                   )       Case No.


                                                                                                                                4.2 3
                                                                   )


                   MICHAEL S. JEFFRIES,
                                                                   )
                                                                   )
                                                                   )
                                                                                CR24
                            Defendant


                                                    ARREST WARRANT                          CHOUDHURY, J.
To:      Any authorized law enforcement officer                                                       TISCIONE, M.J.

         YOU ARE COMMANDED to aJTest and bring before a United States magistrate judge w ithout unnecessary delay
{name ofperson to be arrested) MICHAELS. JEFFRIES
                           _;._;,......:.._ _:_:::.....::...'--'-.:=---- - -- - - - - - - -- - - - - - -- -- - - - - -- -
who is accused of an offense or violation based on the following document filed with the court:

~ Indictment             O Superseding Indictment        O Information        O Superseding Information                       O Complaint
O Probation Violation Petition           O Supervised Release Violation Petition         O Violation Notice                   O Order of the Court

T his offense is briefly described as follows:
  Sex Trafficking in violation of Title 18, United States Code, Sections 1591(a)(1 ), 1591 (a)(2) and 1591 (bl(1}1:md IJ)t.P.rstate
  Prostitution in violation of Title 18, United States Code, Section 2422(a).                               • •. • - ., .:. ,
                                                                                                                .... - :--               -,..


                                                                                                                        -.·
                                                                                                        .;;:   ---                    ...._     :,....   - ...::.


Date:
        - -10/17/2024
           - -- - - -

City and state:       CENTRAL !SLI P, NEW YORK                               THE HONORABLE LEE G. DUNST U SJ!/i.J.
                                                                                            Printed name and title


                                                               Return

          This warrant was received on (date) _ _ _ _ __ _ , and the person was arrested on (dme)
at (city and s1me)


Date:
        - - - - - - --                                                                   Arresting officer ·s signature



                                                                                            Pri111ed name and lit le
                   Case 2:24-cr-00423-NJC                    Document 2        Filed 10/17/24     Page 2 of 2 PageID #: 24


 AO 442 (Rev. I "fi l i) Arrest Warrant (Page 2)




                               This second page contains personal identifiers provided for law-enforcement use only
                               and therefore should not be filed in court with the executed warrant unless under seal.

                                                                   (Not for Public Disclosure)

   ame of defendant/offender:
 Known aliases:
 Last known residence:
 Prior addresses to which defendant/offender may stil l have ties:


 Last known employment:
 Last known telephone numbers :
 Place of birth:
 Date of birth:
 Social Security number:
 Height:                                                                          Weight:
Sex:                                                                              Race:
 Hair:                                                                            Eyes:
Scars, tattoos, other distinguishing marks :



Hist~r~            of ~1ifence. ~~·p<:l,i:i_s, drug use:
                      1
    ....   .....              ...: ..            .
  - .   · ~-- - - -
__.;:..__
                    .       . - -   _..      · , . - - ~ - - - - - - - - - - - - --   - - - - - - - -- -- - - - - - - --     ---

              -        -                  ....
                                                 --
~l lA\Y~-Jamijy . .fneitds,~ai1d 9tl1_r associates (name. relaLiOII, address. phone n11111ber):




Name and te lephone numbers (office and eelI) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable) :
